Case 2:23-cr-00112-JAG-RJK           Document 49         Filed 07/08/24       Page 1 of 4 PageID# 167




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


                                            Norfolk Division


   UNITED STATES OF AMERICA,

          V.                                             Criminal No. 2:23-cr-112


   CHRISTOPHER SCARBOR,

                  Defendant.




                                       STATEMENT OF FACTS


          The parties agree and stipulate that the allegations set forth in Counts Two and Three of

   the Indictment, as well as the following facts, are true and correct, and that had the matter gone to

   trial, the United States would have proven the following facts beyond a reasonable doubt with

   admissible and credible evidence:


           1.     On or about August 28, 2021, in Norfolk, Virginia, within the Eastern District of

   Virginia, the defendant, CHRISTOPHER SCARBOR (hereinafter 'fthe defendant"), was in a

   BMW that fled from a marked police unit. After the car came to rest in a cemetery,the defendant

   fled on foot and was arrested with a fanny pack. Inside the fanny pack were 87 pills and a Clock

   switch that would convert a Clock semi-automatic firearm into a fully automatic firearm,

   commonly known as a "machinegun." Police also recovered two Clock semi-automatic firearms

   inside the car from which the defendant fled.

          2.      The pills containing suspected controlled substances were sent to the Virginia

   Department of Forensic Science for chemical testing and analysis. The lab determined the pills
Case 2:23-cr-00112-JAG-RJK                Document 49   Filed 07/08/24      Page 2 of 4 PageID# 168




   contained methamphetamine, a Schedule II controlled substance. The defendant possessed these

   pills with the intent to distribute.

           3.      The switch recovered on August 28, 2021, was submitted to the Firearms and

   Ammunition Technology Division of the Bureau of Alcohol, Tobacco, Firearms, and Explosives

   for analysis.     Firearms Enforcement Officer Jason Armstrong examined the device and

   documented those findings in a report. He concluded the switch was a machinegun conversion

   device that, when installed, would cause a firearm to automatically shoot more than one shot,

   without manual reloading, by a single function of the trigger; therefore, they were both a

   "machinegun" as defined in 26 U.S.C. § 5845(b). He further concluded that the machinegun

   conversion device, in and ofthemselves, are a combination of parts designed and intended for use

   in converting a weapon into a machinegun and are a "machinegun" as defined in 26 U.S.C. §

   5845(b). They are also a "machinegun" pursuant to 18 U.S.C. § 921(a)(24).

           4.      The defendant possessed the firearms and the machinegun conversion device,

   commonly known as a Clock switch, recovered on August 28, 2021, during and in relation to and

   in furtherance of a drug trafficking crime for which he could be prosecuted, specifically the crime

   alleged in Count Two of the Indictment.

          5.       The acts taken by defendant in furtherance of the offenses charged in Counts Two

   and Three of the Indictment, including the acts described above, were done willfully and

   knowingly with the specific intent to violate the law,and were not committed by mistake, accident,

   or other innocent reason.


          6.       This Statement of Facts includes those facts necessary to support the Plea

   Agreement between defendant and the United States. It does not include each and every fact known
Case 2:23-cr-00112-JAG-RJK           Document 49        Filed 07/08/24       Page 3 of 4 PageID# 169




   to defendant or to the United States, and it is not intended to be a full enumeration of all of the

   facts sun-ounding defendant's case. Defendant acknowledges that the foregoing statement offacts

   does not describe all of the defendant's conduct relating to the offenses charged in this case, nor

   does it identify all of the persons with whom defendant may have engaged in illegal activities.


                                                Respectfully Submitted,

                                                JESSICA ABER
                                                UNITED STATES ATTORNEY




                                         By:
                                                Joseph DePadilla
                                                Assistant United States Attorney
                                                Graham Stolle
                                                Special Assistant United States Attorney
                                                Attorneys for the United States
                                                United States Attorney's Office
                                                101 West Main Street, Suite 8000
                                                Norfolk, VA 23510
                                                Office Number:         757-441-6358
                                                Facsimile Number:      757-441-6689
                                                Email Address:         joseph.depadilla@usdoj.gov
                                                                       graham.stolle2@usdoj.gov
Case 2:23-cr-00112-JAG-RJK           Document 49         Filed 07/08/24      Page 4 of 4 PageID# 170




   United States v. Christopher Scarbor, 2:23-cr-l 12

          After consulting with my attorney and pursuant to the plea agreement entered into this

   day between myself, the United States and my attorney, I hereby stipulate that the above

   Statement of Facts is true and accurate, and that had the matter proceeded to trial, the United

   States would have proved the same beyond a reasonable doubt.




                                                 CHRISTOPHER SCARBOR
                                                 Defendant




          I am the attorney for defendant CHRSTOPHER SCARBOR. I have carefully reviewed

   the above Statement of Facts with him. To the best of my knowledge, his decision to stipulate

   to these facts is an informed and voluntary one.




                                                 Lawrence "Woody" H. Woodward, Jr., Esq.
                                                 Counsel for Defendant
